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1

2                            EXPENSE SUMMARY FOR THE PERIOD
                         DECEMBER 1, 2019 THROUGH DECEMBER 31, 2019
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      Berman and Todderud did not incur reimbursable expenses during the Fee Period.
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